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                                                                                 JS-6
                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

 Case No. SA CV 20-00481-DOC-ADS                                         Date: May 5, 2020

 Title: POPA FEDERAL CREDIT UNION v. VINCE SIERRA ET AL.


 PRESENT:

                    THE HONORABLE DAVID O. CARTER, JUDGE

                 Kelly Davis                                    Not Present
               Courtroom Clerk                                 Court Reporter

       ATTORNEYS PRESENT FOR                         ATTORNEYS PRESENT FOR
             PLAINTIFF:                                   DEFENDANT:
            None Present                                   None Present


        PROCEEDINGS (IN CHAMBERS): ORDER REMANDING CASE

        As detailed in Plaintiff’s state court Complaint (Dkt. 6-1), this action arises out of
 an unlawful detainer action initiated in Orange County Superior Court and removed to
 this Court. Having considered the underlying state court action and Defendants’ Notice of
 Removal (Dkt. 1-1), the Court now finds that no basis for federal jurisdiction obtains in
 this matter. The case is therefore REMANDED to state court.

        The Clerk shall serve this minute order on the parties.


  MINUTES FORM 11                                                   Initials of Deputy Clerk: kd

  CIVIL-GEN
